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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                                          Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                            Defendant



     GOVERNMENT’S MOTION TO DISMISS THE CRIMINAL INFORMATION
            AGAINST THE DEFENDANT MICHAEL T. FLYNN
       The United States of America hereby moves to dismiss with prejudice the criminal

information filed against Michael T. Flynn pursuant to Federal Rule of Criminal Procedure

48(a). The Government has determined, pursuant to the Principles of Federal Prosecution and

based on an extensive review and careful consideration of the circumstances, that continued

prosecution of this case would not serve the interests of justice.

       Mr. Flynn entered a guilty plea—which he has since sought to withdraw—to a single

count of making false statements in a January 24, 2017 interview with investigators of the

Federal Bureau of Investigation (“FBI”). See ECF Nos. 3-4. This crime, however, requires a

statement to be not simply false, but “materially” false with respect to a matter under

investigation. 18 U.S.C. § 1001(a)(2). Materiality is an essential element of the offense.

Materiality, moreover, requires more than mere “relevance” or relatedness to the matter being

investigated; it requires “probative weight,” whereby the statement is “reasonably likely to

influence the tribunal in making a determination required to be made.” United States v.

Weinstock, 231 F.2d 699, 701 (D.C. Cir. 1956) (emphasis added).




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         After a considered review of all the facts and circumstances of this case, including newly

discovered and disclosed information appended to the defendant’s supplemental pleadings, ECF

Nos. 181, 188-190,1 the Government has concluded that the interview of Mr. Flynn was

untethered to, and unjustified by, the FBI’s counterintelligence investigation into Mr. Flynn—a

no longer justifiably predicated investigation that the FBI had, in the Bureau’s own words,

prepared to close because it had yielded an “absence of any derogatory information.” Ex. 1 at 4,

FBI FD-1057 “Closing Communication” Jan. 4, 2017 (emphases added). The Government is not

persuaded that the January 24, 2017 interview was conducted with a legitimate investigative

basis and therefore does not believe Mr. Flynn’s statements were material even if untrue.

Moreover, we not believe that the Government can prove either the relevant false statements or

their materiality beyond a reasonable doubt.

          “A determination to prosecute represents a policy judgment that the fundamental

interests of society require the application of federal criminal law to a particular set of

circumstances. . . .” Justice Manual § 9-27.001. In the Government’s assessment—mindful of

the high burden to prove every element of an offense beyond a reasonable doubt, and that

“government prosecutors have a duty to do justice,” United States v. Darui, 614 F. Supp. 2d 25,

37 (D.D.C. 2009)—continued prosecution of the charged crime does not serve a substantial

federal interest. The Government respectfully moves to dismiss the criminal information with

prejudice against Mr. Flynn.




1
 This review not only included newly discovered and disclosed information, but also recently
declassified information as well.
                                                   2


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                                   FACTUAL BACKGROUND

        The FBI opened a counterintelligence investigation into Mr. Flynn on August 16, 2016,

“as part of the larger Crossfire Hurricane umbrella” investigation into the presidential campaign

of Donald J. Trump and its possible coordination with Russian officials to interfere with the 2016

presidential election. Ex. 1 at 3; Ex. 2 at 1-2, FBI FD-1057, “Opening of the CROSSFIRE

RAZOR Investigation,” Aug. 16, 2016. Code-named “Crossfire Razor,” the investigation’s

stated “goal” was to determine whether Mr. Flynn “was directed and controlled by and/or

coordinated activities with the Russian Federation in a manner which is a threat to the national

security and/or possibly a violation of the Foreign Agents Registration Act, 18 U.S.C. § 951 et

seq., or other related statutes.” Ex. 1 at 2; Ex. 2 at 2.

        In addition to the predication for opening Crossfire Hurricane, which did not specifically

identify Mr. Flynn, the FBI predicated the counterintelligence investigation of him on “an

articulable factual basis” that consisted of three facts: Mr. Flynn’s service as a foreign policy

advisor to the Trump campaign, his publicly documented connection to state-affiliated Russian

entities, and the fact that he had traveled to Russia in December 2015. Ex. 1 at 3-4; Ex. 2 at 1-2.

After approximately four months of investigation, however, the FBI “determined that [Mr.

Flynn] was no longer a viable candidate as part of the larger Crossfire Hurricane umbrella case”

and prepared to close the investigation. Ex. 1 at 3. At some point prior to January 4, 2017, the

FBI drafted a “Closing Communication” to effect the termination of the case. See Ex. 1; Ex. 3 at

2, FBI FD-302, Interview of Mary McCord, July 17, 2017 (Date of Entry: Aug. 10, 2017). This

document noted the specific “goal” and predication for the investigation. Ex. 1 at 2. It laid out

the numerous searches of holdings and investigative steps that had at each step yielded “no

derogatory information” on Mr. Flynn. Ex. 1 at 2-3 (emphasis added); see also id. at 5 (noting



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“the absence of any derogatory information or lead information”). It stated that the investigation

had failed to produce “any information on which to predicate further investigative efforts.” Id. at

3 (emphases added). And it noted that no interview of Mr. Flynn was required “as part of the

case closing procedure,” before concluding: “The FBI is closing this investigation.” The

document also stated: “If new information is identified or reported to the FBI regarding the

activities of CROSSFIRE RAZOR, the FBI will consider reopening the investigation if

warranted.” Id. at 4. The document had not been approved, however, as of January 4, 2017. See

Ex. 7 at 1-2, FBI Electronic Communications and Lync Messages (1/4/17; 1/23/17; 1/24/17;

2/10/17).

       Before the intended case closing took effect, the FBI learned of communications between

Mr. Flynn and Russian ambassador Sergey Kislyak that had taken place in late December 2016

and which touched on matters of foreign policy. See Ex. 3 at 2; Ex. 5 at 3-5, FBI

Counterintelligence Investigations: Permanent Select Comm. on Intelligence, Statement of FBI

Director James Comey, Mar. 2, 2017; Ex. 6 at 3-5, FBI FD-302, Interview of Michael Flynn,

Jan. 24, 2017 (Date of Entry: Feb. 10, 2017). By this time, Mr. Flynn had already been named

by President-Elect Trump as his incoming National Security Advisor. See Ex. 3 at 3; Bryan

Bender, Trump Names Mike Flynn National Security Adviser, Politico (Nov. 17, 2016), available

at https://www.politico.com/story/2016/11/michael-flynn-national-security-adviser-231591.

       The FBI had in their possession transcripts of the relevant calls. See Ex. 5 at 3; Ex. 13 at

3, FBI FD-302, Interview of Peter Strzok, July 19, 2017 (Date of Entry: Aug. 22, 2017).

Believing that the counterintelligence investigation of Mr. Flynn was to be closed, FBI

leadership (“the 7th Floor”) determined to continue its investigation of Mr. Flynn on the basis of

these calls, and considered opening a new criminal investigation based solely on a potential



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violation of the Logan Act, 18 U.S.C. § 953. See Ex. 3 at 2-3; Ex. 7 at 1-2; Ex. 8 at 1-5, FBI E-

mails RE: Logan Act Jan. 4, 2017. Yet discussions with the Department of Justice resulted in the

general view that the Logan Act would be difficult to prosecute. Ex. 3 at 2-3; Ex. 4 at 1-2, FBI

FD-302, Interview of Sally Yates, Aug. 15, 2017 (Sept. 7, 2017); Ex. 5 at 9. The FBI never

opened an independent FBI criminal investigation.

       On January 4, 2017, FBI Deputy Assistant Director Peter Strzok learned that “RAZOR’s

closure” had not been timely executed, and the counterintelligence investigation into Mr. Flynn

was, unexpectedly, still formally open. Ex. 7 at 1-2. Mr. Strzok immediately relayed the

“serendipitously good” news to Lisa Page, the Special Counsel to FBI Deputy Director Andrew

McCabe, remarking that “our utter incompetence actually helps us.” Id. at 1. Ms. Page reacted

with surprise and relief. Id. Mr. Strzok, moreover, instructed agents to “keep it open for now” at

the behest of “the 7th Floor.” Id. Mr. Strzok indicated that there was a “[n]eed to decide what to

do with him.” Id. Other internal FBI messages from that afternoon reflect apparently related

conversations about a potential “interview.” See id. at 2 (“i heard pete say, ‘Andy and [redacted]

will interview.…”). As of January 4, 2017, then, the FBI kept open its counterintelligence

investigation into Mr. Flynn based solely on his calls with Kislyak—the only new information to

arise since the FBI’s determination to close the case. See Ex. 3 at 2; Ex. 5 at 5.

       On January 12, 2017, the Washington Post reported the December 29 communications

between Mr. Flynn and the Russian ambassador. See David Ignatius, Why Did Obama Dawdle

on Russia’s Hacking, Wash. Post, Jan. 12, 2017. The next day, January 13, Sean Spicer, the

spokesperson for the Trump transition, clarified that the communications had involved only

logistics, which seemed to contradict the nature of the calls. Ex. 4 at 2. On January 15, Vice




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President-Elect Mike Pence stated in a news interview that Mr. Flynn had suggested that his

conversation with Kislyak did not relate to sanctions. Ex. 3 at 4; Ex. 4 at 2-3; Ex. 5 at 4-5.

       Around this time, FBI Director James Comey advised DOJ leadership of its investigation

into Mr. Flynn, and senior officials at both the FBI and DOJ had concerns that the incumbent

White House officials’ descriptions of Mr. Flynn’s calls with Kislyak were not accurate. Ex. 3 at

4; Ex. 4 at 2-3; Ex. 5 at 4-5. FBI Director Comey took the position that the FBI would not notify

the incoming Trump administration of the Flynn-Kislyak communications. Ex. 3 at 4-5; Ex. 4 at

4. Deputy Attorney General Sally Yates and other senior DOJ officials took the contrary view

and believed that the incoming administration should be notified. Ex. 3 at 4-5; Ex. 4 at 4.

Deputy Attorney General Yates and another senior DOJ official became “frustrated” when

Director Comey’s justifications for withholding the information from the Trump administration

repeatedly “morphed,” vacillating from the potential compromise of a “counterintelligence”

investigation to the protection of a purported “criminal” investigation. Ex. 3 at 5; compare Ex. 5

at 5 (“[W]e had an open counterintelligence investigation on Mr. Flynn”), with Ex. 4 at 4

(“Comey had said something to the effect of there being an ‘ongoing criminal investigation’”).

The Deputy Attorney General, Director of National Intelligence, and Director of the Central

Intelligence Agency all agreed that the FBI should notify the incoming Trump administration of

what had actually been said on the calls. Ex. 3 at 5. FBI Director Comey continued to refuse to

brief the White House in a subsequent conversation with CIA Director John Brennan. Id.; Ex. 5

at 5-6. On January 23, 2017, then Acting Attorney General Yates met with senior DOJ officials,

and they again discussed the need to press the FBI to notify the White House. Ex. 3 at 5; Ex. 4 at

4.




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        Matters came to a head on January 24, 2017. That morning, Yates contacted Director

Comey to demand that the FBI notify the White House of the communications. Ex. 3 at 5; Ex. 4

at 4. Director Comey did not initially return her call. Ex. 4 at 4. When Director Comey called

her back later that day, he advised her that the FBI agents were already on their way to the White

House to interview Mr. Flynn. Ex. 3 at 5; Ex. 4 at 4. Acting Attorney General Yates was

“flabbergasted” and “dumbfounded,” and other senior DOJ officials “hit the roof” upon hearing

of this development, given that “an interview of Flynn should have been coordinated with DOJ.”

Ex. 3 at 6; Ex. 4 at 5.

        In fact, in the preceding days, senior officials at the FBI had been engaged in discussions

about how to approach Mr. Flynn and whom to notify. See Ex. 9, FBI E-mails, Jan. 21-24, 2017.

On January 21, 2017, Mr. Strzok proposed to Bill Priestap, the FBI’s counterintelligence chief,

that Mr. Flynn should be given a “defensive briefing” about an investigation under the Crossfire

Hurricane umbrella or alternatively an “interview under light ‘defensive briefing’ pretext.” See

Ex. 9 at 1. Mr. Strzok also noted that DOJ might “direct[] us” to inform “VPOTUS or anyone

else,” speculating that this could lead to the “WH specifically direct[ing] us not to” speak with

Mr. Flynn. Id. On January 22, 2017, a FBI attorney emailed Mr. Strzok and Ms. Page that “if

we usually tell the WH, then I think we should do what we normally do,” though the official also

noted that they could be “told not to [] debrief or interview Razor.” Id. at 2.

        In advance of the interview, Director Comey determined that they would go interview

Mr. Flynn the following day without notifying either DOJ or the White House. Ex. 3 at 5-6; Ex.

4 at 4-5; Ex. 5 at 6. In a December 2018 interview with MSNBC and NBC News analyst Nicolle

Wallace, he stated this course of action was “something we, I probably wouldn’t have done or

gotten away with in a [] more organized administration.” See Interview by Nicolle Wallace with



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James Comey, Dec. 10, 2018, 14:31-14:55; https://www.youtube.com/watch?v=9xqGu66D6VU.

Messages between Mr. Strzok and Ms. Page on January 23, 2017, indicated that “Bill” had

conducted “several conversations with Andy [McCabe]” because “he wanted to know why we

had to go aggressively doing these things, openly.” Ex. 7 at 2.

         On the morning of January 24, 2017, follow-up messages between Mr. Strzok and Ms.

Page indicated that “Bill … brought [it] up – again, this time in front of D[irector Comey]” and

that Deputy Director McCabe was “frustrated” and “cut him off.” Ex. 7 at 3.2 In any event, that

morning, Deputy Director McCabe called Mr. Flynn to arrange the interview. See Ex. 11,

Deputy Director Andrew McCabe, Untitled Memorandum, January 24, 2017. He explained that

recent media statements about his contacts with Kislyak merited a “sit down” and expressed the

FBI’s desire to accomplish the interview “quickly, quietly and discretely as possible.” Id.

Deputy Director McCabe further advised that if Mr. Flynn wished to have anyone else at the

meeting, including the White House Counsel, the FBI would have to elevate the issue to DOJ.

Id. Mr. Flynn, himself a former Director of the Defense Intelligence Agency, stated that he

readily expected that the FBI already knew the contents of his conversations with the

ambassador, stating: “you listen to everything they say.” Id. Mr. Flynn then agreed to meet with

the interviewing agents in his office less than two hours later. Id.

         Mr. Flynn was “unguarded” in the interview and “clearly” viewed the agents as “allies.”

Ex. 13 at 3. When interviewing Mr. Flynn, Mr. Strzok and the other agent “didn’t show him the




2
  Priestap’s notes dated January 24 state, “What’s our goal? Truth/Admission or to get him to
lie, so we can prosecute him or get him fired?” On the same paper, Priestap wrote, “If we’re
seen as playing games, WH will be furious. Protect our institution by not playing games.” Ex.
10, FBI Handwritten Note, Jan. 23/24, 2017. Another note stated, “We regularly show subjects
evidence, with the goal of getting them to admit their wrongdoing. I don’t see how getting
someone to admit their wrongdoing is going easy on him.” See id.
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transcripts” of his calls. Ex. 5 at 7; see also Ex. 3 at 6; Ex. 4 at 5; Ex. 6. Nor did the agents give,

at any point, warnings that making false statements would be a crime. Ex. 3 at 6; Ex. 4 at 5; Ex.

9 at 5-6; see also Ex. 6. According to the FBI agents’ recollections, when asked if Mr. Flynn

recalled any conversation in which he encouraged Kislyak not to “escalate the situation” in its

response to American sanctions, Mr. Flynn responded uncertainly, stating, “Not really. I don’t

remember. It wasn’t, ‘Don’t do anything.’” Ex. 6 at 5. Mr. Flynn also stated that although it

was possible, he did not recall any conversation in which the ambassador stated that Russia

would moderate its response due to Mr. Flynn’s request. Id. He stated that he did not have a

long conversation with Mr. Kislyak to “don’t do something.” Id.

       Meanwhile, when asked if he recalled asking countries to take certain actions on the

United Nations vote on Israeli settlements, Mr. Flynn explained that the conversations were

“along the lines of where do you stand and what’s your position” and that “he did not believe his

calls to the various countries would change anything.” Id. at 4. He also stated that his calls did

not involve any requests for how to vote, and answered “no” when asked if he discussed

delaying or defeating the vote. See id. at 4. The FD-302, moreover, indicates that Mr. Flynn

denied that Kislyak described any Russian request to his response. Id.; see Ex. 12, FBI

Handwritten Notes of Michael Flynn Interview (January 24, 2017).

       After the interview, the FBI agents expressed uncertainty as to whether Mr. Flynn had

lied. See Ex. 4 at 5. FBI agents reported to their leadership that Mr. Flynn exhibited a “very sure

demeanor” and “did not give any indicators of deception.” Ex. 13 at 3. Both of the agents “had

the impression at the time that Flynn was not lying or did not think he was lying.” Id. When

Director Comey was asked, based on his evaluation of the case: “Do you believe that Mr. Flynn




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lied?” Director Comey responded: “I don’t know. I think there is an argument to be made he

lied. It is a close one.” Ex. 5 at 9.

        On November 30, 2017, the Special Counsel’s Office filed a criminal information against

Mr. Flynn charging him with a single count of making false statements in violation of 18 U.S.C.

§ 1001(a)(2). ECF No. 1. Mr. Flynn pleaded guilty to that offense, see ECF Nos. 3-4, but

moved to withdraw that guilty plea on January 14, 2020, ECF Nos. 151, 154, 160. On January

29, 2020, Mr. Flynn also filed a “Motion to Dismiss Case for Egregious Government Misconduct

and in the Interest of Justice,” ECF No. 162, and supplemented that motion on April 24 and 30,

2020 based on additional disclosures, see ECF Nos. 181, 188-190. Both Mr. Flynn’s motion to

withdraw his guilty plea and motion to dismiss the case remain pending before the Court.3

                                        LEGAL BACKGROUND

        Federal Rule of Criminal Procedure 48(a) permits the Government, “with leave of court,”

to “dismiss an indictment, information or complaint.” Fed. R. Crim. P. 48(a). It is also “well

established that the Government may move to dismiss even after a complaint has turned into a

conviction because of a guilty plea.” United States v. Hector, 577 F.3d 1099, 1101 (9th Cir.

2009) (collecting cases); see also Rinaldi v. United States, 434 U.S. 22, 31 (finding an abuse of

discretion to refuse to grant post-conviction Rule 48(a) motion).

        When the Government so moves, the role for courts addressing Rule 48(a) motions is

“narrow” and circumscribed. United States v. Fokker Servs., B.V., 818 F.3d 733, 742 (D.C. Cir.

2016). The “leave of court” provision serves “primarily to guard against the prospect that

dismissal is part of a scheme of ‘prosecutorial harassment’ of the defendant” through repeated



3
 On May 7, 2020, defense counsel confirmed with the prosecution team that upon the
Government filing this motion to dismiss, the defense would move to withdraw all pending
defense motions without prejudice.
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prosecutions—a prospect not implicated by, as here, a motion to dismiss with prejudice. Id. at

742 (citing Rinaldi, 434 U.S. at 29 n.15); see also In re United States, 345 F.3d 450, 453 (7th

Cir. 2003) (no such concerns where “[t]he government wants to dismiss the civil rights count

with prejudice, and that is what [the defendant] wants as well”).

        The discretion accorded the DOJ under Rule 48(a) recognizes that “decisions to dismiss

pending charges … lie squarely within the ken of prosecutorial discretion” and “‘at the core of

the Executive’s duty to see to the faithful execution of the laws.’” Fokker Servs., 818 F.3d at 741

(citation omitted); see also United States v. Nixon, 418 U.S. 683, 693 (1974) (“[T]he Executive

Branch has exclusive authority and absolute discretion to decide whether to prosecute a

case.”). As the Supreme Court has explained, the factors relevant to carrying forward with a

prosecution, including “the strength of the case, the prosecution’s general deterrence value, the

Government’s enforcement priorities, and the case’s relationship to the Government’s overall

enforcement plan,” are “particularly ill-suited to judicial review.” Wayte v. United States, 470

U.S. 598, 607 (1985).

        For those reasons, a court should not deny the Government’s motion to dismiss “based on

a disagreement with the prosecution’s exercise of charging authority,” such as “a view that the

defendant should stand trial” or “that more serious charges should be brought.” Fokker Servs.,

818 F.3d at 742-43. Nor should a court second-guess the Government’s “conclusion that

additional prosecution or punishment would not serve the public interest.” Id. at 743; see also In

re United States, 345 F.3d at 453 (“We are unaware … of any appellate decision that actually

upholds a denial of a motion to dismiss a charge” on grounds that dismissal would not serve the

“public interest.”).




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                                           DISCUSSION

        Based on an extensive review of this investigation, including newly discovered and

disclosed information attached to the defendant’s supplemental pleadings, see ECF Nos. 181,

188-190, the Government has concluded that continued prosecution of Mr. Flynn would not

serve the interests of justice.

        Under the Principles of Federal Prosecution, the Government should not prosecute a

defendant “unless the attorney for the government believes that the admissible evidence is

sufficient to obtain and sustain a guilty verdict by an unbiased trier of fact.” Justice Manual 9-

27.220. “A determination to prosecute represents a policy judgment that the fundamental

interests of society require the application of federal criminal law to a particular set of

circumstances. . . .” Justice Manual 9-27.001. The particular circumstances of this case militate

in favor of terminating the proceedings: Mr. Flynn pleaded guilty to making false statements

that were not “material” to any investigation. Because the Government does not have a

substantial federal interest in penalizing a defendant for a crime that it is not satisfied occurred

and that it does not believe it can prove beyond a reasonable doubt, the Government now moves

to dismiss the criminal information under Rule 48(a).

        Proof of a false statement to federal investigators under Section 1001(a)(2) requires more

than a lie. It also requires demonstrating that such a statement was “material” to the underlying

investigation. See United States v. Gaudin, 515 U.S. 506, 509 (1995); United States v. Kim, 808

F. Supp. 2d 44, 59 (D.D.C. 2011). Section 1001 prohibits “knowingly and willfully ... mak[ing]

any materially false, fictitious, or fraudulent statement or representation” in a “matter within the

jurisdiction of the executive … branch of the Government of the United States.” 18 U.S.C. §

1001(a)(2) (emphasis added). As is well-established, materiality does not equate to mere



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“relevance”; rather, “[t]o be ‘material’ means to have probative weight”—that is, to be

“reasonably likely to influence the tribunal in making a determination required to be made.”

Weinstock, 231 F.2d at 701 (emphasis added).

        The materiality threshold thus ensures that misstatements to investigators are

criminalized only when linked to the particular “subject of [their] investigation.” Kim, 808 F.

Supp. 2d at 59; cf. Kungys v. United States, 485 U.S. 759, 774 (1988) (false date and birthplace

statements in immigration application were not “material” as they were not “relevant to his

qualifications [for citizenship]”). And it prevents law enforcement from fishing for falsehoods

merely to manufacture jurisdiction over any statement—true or false—uttered by a private

citizen or public official.

        In the case of Mr. Flynn, the evidence shows his statements were not “material” to any

viable counterintelligence investigation—or any investigation for that matter—initiated by the

FBI. Indeed, the FBI itself had recognized that it lacked sufficient basis to sustain its initial

counterintelligence investigation by seeking to close that very investigation without even an

interview of Mr. Flynn. See Ex. 1 at 4. Having repeatedly found “no derogatory information”

on Mr. Flynn, id. at 2, the FBI’s draft “Closing Communication” made clear that the FBI had

found no basis to “predicate further investigative efforts” into whether Mr. Flynn was being

directed and controlled by a foreign power (Russia) in a manner that threatened U.S. national

security or violated FARA or its related statutes, id. at 3.

        With its counterintelligence investigation no longer justifiably predicated, the

communications between Mr. Flynn and Mr. Kislyak—the FBI’s sole basis for resurrecting the

investigation on January 4, 2017—did not warrant either continuing that existing

counterintelligence investigation or opening a new criminal investigation. The calls were



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entirely appropriate on their face. Mr. Flynn has never disputed that the calls were made.

Indeed, Mr. Flynn, as the former Director of Defense Intelligence Agency, would have readily

expected that the FBI had known of the calls—and told FBI Deputy Director McCabe as much.

See Ex. 11. Mr. Flynn, as the incumbent National Security Advisor and senior member of the

transition team, was reaching out to the Russian ambassador in that capacity. In the words of

one senior DOJ official: “It seemed logical . . . that there may be some communications between

an incoming administration and their foreign partners.” Ex. 3 at 3. Such calls are not uncommon

when incumbent public officials preparing for their oncoming duties seek to begin and build

relationships with soon-to-be counterparts.

       Nor was anything said on the calls themselves to indicate an inappropriate relationship

between Mr. Flynn and a foreign power. Indeed, Mr. Flynn’s request that Russia avoid

“escalating” tensions in response to U.S. sanctions in an effort to mollify geopolitical tensions

was consistent with him advocating for, not against, the interests of the United States. At

bottom, the arms-length communications gave no indication that Mr. Flynn was being “directed

and controlled by … the Russian federation,” much less in a manner that “threat[ened] …

national security.” Ex. 1 at 2, Ex. 2 at 2. They provided no factual basis for positing that Mr.

Flynn had violated FARA. Nor did the calls remotely transform Mr. Flynn into a “viable

candidate as part of the larger … umbrella case” into Russian interference in the 2016

presidential election. Ex. 1 at 3.

       In any event, there was no question at the FBI as to the content of the calls; the FBI had

in its possession word-for-word transcripts of the actual communications between Mr. Flynn and

Mr. Kislyak. See Ex. 5 at 3; Ex. 13. at 3. With no dispute as to what was in fact said, there was

no factual basis for the predication of a new counterintelligence investigation. Nor was there a



                                                 14


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justification or need to interview Mr. Flynn as to his own personal recollections of what had been

said. Whatever gaps in his memory Mr. Flynn might or might not reveal upon an interview

regurgitating the content of those calls would not have implicated legitimate counterintelligence

interests or somehow exposed Mr. Flynn as beholden to Russia.

        Notably, at this time FBI did not open a criminal investigation based on Mr. Flynn’s calls

with Mr. Kislyak predicated on the Logan Act. See Ex. 7 at 1-2.4 See Ex. 3 at 2-3; Ex. 4 at 1-2;

Ex. 5 at 9. The FBI never attempted to open a new investigation of Mr. Flynn on these grounds.

Mr. Flynn’s communications with the Russian ambassador implicated no crime. This is apparent

from the FBI’s rush to revive its old investigation rather than open and justify a new one, see Ex.

7 at 1-2, as well as its ongoing inability to espouse a consistent justification for its probe in

conversations with DOJ leadership, See Ex. 3 at 5. In fact, Deputy Attorney General Yates

thought that the FBI leadership “morphed” between describing the investigation into Mr. Flynn

as a “counterintelligence” or a “criminal” investigation. Id.

        In short, Mr. Flynn’s calls with the Russian ambassador—the only new information to

arise since the FBI’s decision to close out his investigation—did not constitute an articulable

factual basis to open any counterintelligence investigation or criminal investigation. Mr. Strzok




4
  Congress first enacted the Logan Act in 1799 to “guard by law against the interference of
individuals with the negotiation of our Executive with the Governments of foreign countries.”
Joseph Gales & William Seaton, Annals of the Congress of the United States, 2494 (1851)
(quoting 5th Congress, 3d Session); see also Waldron v. British Petro. Co., 231 F. Supp. 72, 89
n.30 (S.D.N.Y. 1964). The Department of Justice does not appear ever to have brought a
prosecution under the statute in the Department’s 150-year history, and the Government is aware
of only two indictments, in 1803 and 1852, neither of which resulted in a conviction. In the
absence of any history of enforcement or any public guidance concerning the scope of its
prohibition, the Department does not believe there was a legitimate basis to investigate and
prosecute the designated National Security Advisor of the President-Elect under the Logan Act
for communicating with a foreign ambassador and seeking to mollify geopolitical tensions in
advance of the inauguration of the next President.
                                                  15


                                                                                      Exhibit B
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and Ms. Page apparently celebrated the “serendipitous[]” and “amazing” fact of the FBI’s delay

in formally closing out the original counterintelligence investigation. Ex. 7 at 1. Having the

ability to bootstrap the calls with Mr. Kislyak onto the existing authorization obviated the need

for the “7th Floor” of the FBI to predicate further investigative efforts. In doing so, the FBI

sidestepped a modest but critical protection that constrains the investigative reach of law

enforcement: the predication threshold for investigating American citizens.

       Nor did anything about the statements by Vice President Pence or Sean Spicer in mid-

January—weeks after the FBI had resolved to resurrect its dormant investigation into Mr.

Flynn—provide a separate or distinct basis for an investigation. Had the FBI been deeply

concerned about the disparities between what they knew had been said on the calls and the

representations of Vice President Pence or Mr. Spicer, it would have sought to speak with them

directly, but did not. Whether or not Mr. Flynn had been entirely candid with the future Vice

President or Press Secretary did not create a predicate for believing he had committed a crime or

was beholden to a foreign power.

       The frail and shifting justifications for its ongoing probe of Mr. Flynn, as well as the

irregular procedure that preceded his interview, suggests that the FBI was eager to interview Mr.

Flynn irrespective of any underlying investigation. As is undisputed, the agents breached the

common practice of arranging for the interview through the White House Counsel. See Ex. 3 at

5-6; Ex. 4 at 5; Ex. 5 at 6. Deputy Director McCabe effectively discouraged Mr. Flynn from

procuring counsel or even notifying the White House Counsel. See Ex. 11. The interviewing

agents failed to issue the common Section 1001 admonitions about lying to investigators. See

Ex. 3 at 6; Ex. 4 at 5; Ex. 9 at 5-6; see also Ex. 6. Nor did the FBI even notify Acting Attorney

General Yates that the interview was happening until the interviewing agents were already en



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route to Mr. Flynn. See Ex. 3 at 5-6; Ex. 4 at 4-5; Ex. 5 at 6. This gambit by the FBI left Yates

“flabbergasted” and “dumbfounded.” See Ex. 3 at 6.

       Additionally, prior to the interview, there were internal FBI discussions about whether to

show Mr. Flynn the transcripts of his calls with Mr. Kislyak.5 In light of the fact that the FBI

already had these transcripts in its possessions, Mr. Flynn’s answers would have shed no light on

whether and what he communicated with Mr. Kislyak.—and those issues were immaterial to the

no longer justifiably predicated counterintelligence investigation. Similarly, whether Mr. Flynn

did or “did not recall” (ECF No. 1) communications already known by the FBI was assuredly not

material.

       Under these circumstances, the Government cannot explain, much less prove to a jury

beyond a reasonable doubt, how false statements are “material” to an investigation that—as

explained above—seems to have been undertaken only to elicit those very false statements and

thereby criminalize Mr. Flynn. Although it does not matter that the FBI knew the truth and

therefore was not deceived by Mr. Flynn’s statements, see United States v. Safavian, 649 F.3d

688, 691-92 (D.C. Cir. 2011), a false statement must still “be capable of influencing an agency

function or decision,” United States v. Moore, 612 F.3d 698, 702 (D.C. Cir. 2010) (citations and

quotation mark omitted). Even if he told the truth, Mr. Flynn’s statements could not have

conceivably “influenced” an investigation that had neither a legitimate counterintelligence nor

criminal purpose. See United States v. Mancuso, 485 F.2d 275, 281 (2d Cir. 1973) (“Neither the

answer he in fact gave nor the truth he allegedly concealed could have impeded or furthered the

investigation.”); cf. United States v. Hansen, 772 F.2d 940, 949 (D.C. Cir. 1985) (noting that a




5
 Priestap’s talking points, prepared in advance of a January 24 morning meeting with McCabe
reflect this internal debate.
                                                17


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lie can be material absent an existing investigation so long as it might “influenc[e] the possibility

that an investigation might commence.”). Accordingly, a review of the facts and circumstances

of this case, including newly discovered and disclosed information, indicates that Mr. Flynn’s

statements were never “material” to any FBI investigation.6

       And even if they could be material, the Government does not believe it could prove that

Mr. Flynn knowingly and willfully made a false statement beyond a reasonable doubt.7 Based

on the facts of this case, the Government is not persuaded that it could show that Mr. Flynn

committed a false statement under its burden of proof. The FBI agents “had the impression that

Flynn was not lying or did not think he was lying.” Ex. 13 at 4. And the statements in question

were not by their nature easily falsifiable. In his interview, Mr. Flynn offered either equivocal

(“I don’t know”) or indirect responses, or claimed to not remember the matter in question. See

United States v. Ring, 811 F. Supp. 2d 359, 384 (D.D.C. 2011) (holding that “faulty memory” is

not enough to establish “willful” lie absent proof the defendant indeed remembered the matter in




6
  The statements by Mr. Flynn also were not material to the umbrella investigation of Crossfire
Hurricane, which focused on the Trump campaign and its possible coordination with Russian
officials to interfere with the 2016 presidential election back prior to November 2016. See Ex. 1
at 3; Ex. 2 at 1-2. Mr. Flynn had never been identified by that investigation and had been
deemed “no longer” a viable candidate for it. Most importantly, his interview had nothing to do
with this subject matter and nothing in FBI materials suggest any relationship between the
interview and the umbrella investigation. Rather, throughout the period before the interview, the
FBI consistently justified the interview of Flynn based on its no longer justifiably predicated
counterintelligence investigation of him alone.
7
 The Government appreciates that the Court previously deemed Mr. Flynn’s statements
sufficiently “material” to the investigation. United States v. Flynn, 411 F. Supp. 3d 15, 41-42
(D.D.C. 2019). It did so, however, based on the Government’s prior understanding of the nature
of the investigation, before new disclosures crystallized the lack of a legitimate investigative
basis for the interview of Mr. Flynn, and in the context of a decision on multiple defense Brady
motions independent of the Government’s assessment of its burden of proof beyond a reasonable
doubt.


                                                 18


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question). Combining the vague substance of the answers, the FBI’s own preliminary estimation

of Mr. Flynn’s truthfulness, the inconsistent FBI records as to the actual questions and statements

made, and Director Comey’s own sentiment that the case was a “close one,” Ex. 5 at 9, the

evidentiary problems that have emerged create reasonable doubt as to whether Mr. Flynn

knowingly and willingly lied to investigators during the interview.

       Mr. Flynn previously pleaded guilty to making false statements. See Def’s Plea

Agreement, ECF Nos. 3-4. In the Government’s assessment, however, he did so without full

awareness of the circumstances of the newly discovered, disclosed, or declassified information as

to the FBI’s investigation of him. Mr. Flynn stipulated to the essential element of materiality

without cause to dispute it insofar as it concerned not his course of conduct but rather that of the

agency investigating him, and insofar as it has been further illuminated by new information in

discovery.

       “The advocacy function of a prosecutor includes seeking exoneration and confessing

error to correct an erroneous conviction.” Warney v. Monroe Cty.., 587 F.3d 113, 125 (2d Cir.

2009). So in the final analysis, irrespective of Mr. Flynn’s plea, “prosecutors have a duty to do

justice.” Darui, 614 F. Supp. 2d at 37; see also Marshall v. Jerrico, Inc., 446 U.S. 238, 249

(1980) (“Prosecutors are also public officials; they too must serve the public interest.”) (citation

omitted). Federal prosecutors possess “immense power to strike at citizens, not with mere

individual strength, but with all the force of government itself.” Robert H. Jackson, The Federal

Prosecutor, 24 Judicature 18, 18 (1940) (address delivered at the Second Annual Conference of

United States Attorneys, April 1, 1940). For that reason, “the citizen’s safety lies in the

prosecutor who … seeks truth and not victims, who serves the law and not factional purposes,

and who approaches [the] task with humility.” Id. Based on a careful assessment of the balance



                                                 19


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of proof, the equities, and the federal interest served by continued prosecution of false statements

that were not “material” to any bona fide investigation, the Government has concluded that the

evidence is insufficient to prove its case beyond a reasonable doubt. The Government therefore

moves to dismiss the criminal information under Rule 48(a).

                                         CONCLUSION

       The Government respectfully moves under Rule 48(a) to dismiss the criminal information

against Mr. Flynn.



                                                      Respectfully submitted,

                                                      TIMOTHY SHEA


                                                      BY:_____Timothy Shea_________
                                                      United States Attorney
                                                      D.C. Bar No. 472845




                                                20


                                                                                   Exhibit B
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                                         Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                           Defendant


                                     [PROPOSED] ORDER

       On May 7, 2020, the government filed a Motion to Dismiss the Criminal Information

Against the Defendant Michael T. Flynn, in which the government moved to dismiss with

prejudice the criminal information filed in this case pursuant to Federal Rule of Criminal

Procedure 48 and as an exercise of its prosecutorial discretion.

       Upon consideration of the request, and for the reasons stated in the government’s motion,

the government’s motion is hereby GRANTED.

       It is further ORDERED that criminal information filed in this case will be dismissed with

prejudice.

       IT IS SO ORDERED.



                                              __________________________________
                                              The Honorable Emmet G. Sullivan
                                              United States District Judge




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         EXHIBIT 1




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 FD-1057 (Rev. 5-8-10)



                           FEDERAL BUREAU OF INVESTIGATION
                                              Eleotronlc Communication


             Title:      11111111     Cl osing Communication                  Date:    01/04/2017

             From:       WASHINGTON FIELD

                           Contact:     BARNETT WILL I AM J JR,

             Approved By: Joe Pientka III

             Drafted By: BARNETT WILL IAM J JR

             Case ID#:                                          CROSSFIRE RAZOR
                                                    FOREIGN AGENTS REGI~.TRATION ACT -
                                                    RUSSIA;
                                                   .pENSITIVE I NVE~TIGATIVE MATTER

            Synopsis :                 To document the dl'osing of capti oned case .
                                                            :!




            Details:

                                The FBI opene~ captioned,,case based on an art iculable
                                that CRQSSFIRE 'RAZOR (CR) may wi tt i ngl y or unwittingly be
            involved in activity on behalt'"of .the Russian Federation which may
                                             ~;    '''
            cons ti tute·;··a ,£ederal crime or threat t o the national security. The FBI
            predicated the , investigation on predet ermined criteria set forth by the
            CROSSFIRE HURRIC~E (CH) i nv~st i gati ve team based on a n assessment o f
            reliable l ead infdrmation
                                     ' ,:t
                                            received during the course of the
            investigat i on. Specifi cally, CR was cited as an adviser to t hen
            Re publican preside nt ia l · candidate DONALD J. TRUMP for foreign policy
            issues since February 2016; CR had ties to various state-affiliated
            entities o f the Russ i a n Federat i on, as reported by open source
            i nformati on ; and CR traveled to Russia in December 2015, as reported by
            open source information. Additionally, CR has an active TS/SCI
            clearance.




SUBJECT TO PROTECTIVE ORDER
                                                                                      Exhibit B
                                                                                  DOJSCO - 700023466
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     Titl                   osing Communication
     Re:                     01/04/2017




                     The goal of the investigation was to determine whether
      the captioned subject, associated with the Trump campaign, was directed
      and control led by and/or coordinated activities wtth ' the Russian
      Federation in a manner which is a threat to the n~tional security
      and/or possibly a violation of the Foreign AgentsRegistrat ion Act, 18
      U. S . C sect i on 951 et seq, or other related st~tutes.

                     Followin g the initiation of captioned case,: the CH Team
      conducted a check of logical databases .for any derogatory i ,nformation
      on CROSSFIRE RAZOR. No derogatory information was identified in FBI
      holdings.

                                     '
                                requested th.at




                 The .     f ound
      CROSSFIRE RAZOR .

         -       In .,a ddition to -        ' the FBI requested that -
      conduct a search .<;?f it s ·qol~ings fof a p y derogatory information on
      CROSSFIRE RAZOR. No derogat9ry i nformation was reported back to the
      FBI.
                                    l      '
                     The CH inv~stigat i,:,-e ; team also addressed this
      investigat ion through CHS reporting CROSSFIRE RAZOR for any derogatory
      or lead infor:mat., 'i on. As such
                                       '
                                         CH contacted an established FBI CHS to
      query about CR . During the debr i efing the CHS rela ed an incidents/he
      witnessed when CROSS ~IRE:~ZOR (CR) spoke at the                   in the
                      The CHS, was unsure of the date, but noted that
      CROSSFIRE RAZOR was still in his/her position within the USIC.
      [Writer's note: per open source, CR spoke at                  on
                    The CHS advised that after CR spoke and socialized with
                                 at dinner and over drinks, members of          111111
                        a cab to take CR to the train stat i on to bring



                                               2



SUBJECT TO PROTECTIVE ORDER
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                                Closing Communication
     Re:                           01/04/2017



      him/her t                    The CHS stated that a
                                                          and joined CR on t he train
                                                          was somewhat. suspi c i ous o f
                                   been affi l iated with several prominent members of
                               The CHS believes that             father may be a Russian
      Oligarch                                  CHS cou                further
      information on                             trip .

                     The CH investigat ive team checked           name through
      available FBI dat abases for any derogatory information with . negative
      results. A formal                                    as submitted to -           for
      any derogatory informati on. -                 report~fl no ct,ei ogatory information
      in its holdings.

           11111111
                 Analysis                                                This analysis
      utilized records                                                   as well as  11111
      and -   records.                                                         the FBI
      initiated

      if there was contact between him and CROSSFIRE RAZOR .
                                           :~.:- "
      between the two indiv~duals wa ~,. observed,J?Y the surveillance teams
      covering the .event.

           -          In addi t i'.on




                           ;
                    Following the c;:qmpilation of the above information, the CH
      t eam determined t hat CR().$SFIRE RAZOR was no longer a viable candidate
      as part ~                             SFIRE HURRICANE umbrella case . A review of
      logical l l l l l l l l l l l l l l l databases did not yield any information on
      which to predicat e fur t her inves t igative e f forts. Whi le a CHS provided
      some information on CR ' s interaction with ~                  the absence of
      der ogatory information on llll limited the invest i gat i ve va l ue o f the
      information . The writer notes that since CROSSFIRE RAZOR was not
      specificall y named as an agent of a foreign power by the original



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SUBJECT TO PROTECTIVE ORDER
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                         Closing Communication
     Re:                     01/04/2017



      CROSSFIRE HURRICANE predicated reporting, the absence of any derogatory
      information or lead information from t hese logical sources reduced the
      number of i nvestigat i ve avenues and techni ques to pursue. Per the
      direction of FBI management, CROSSFIRE RAZOR was not 'i nterviewed as
      part of the case closing procedure .

        -        The FBI is closing this investigat~.o n . If 9ew information is
      identified or reported to t he FBI regardin9"the activitLes of CROSSFIRE
      RAZOR, the FBI will consider reopening the investigationr.Jf warranted .




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SUBJECT TO PROTECTIVE ORDER
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                                                                          DOJSCO - 700023469
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         EXHIBIT 2




                                                                     Exhibit B
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       I



FD- I 057 (Rev. 5-8-10)



                            FEDERAL BUREAU OF INVESTIGATION
                                                    Eleotronic Communication


             Title: . . . Opening of the CROSSFIRE RAZOR                                Date:     08/16/2016
                         ion.


             From:




            Approved By:
                            .t:
                          NEW YORK




                                     -   .   -     - -   I


            Drafted By:


            Case l:D #:                                                    CROSSFIRE RAZOR
                                                             -            ENTS REGISTRATION ACT
                                                             RUSSIA;
                                                              SENSITIVE INVESTIGATIVE MATTER

           Synopsis:         1111111111          Opening EC for the CROSSFIRE RAZOR investigation.




           Full Investigation Initiated:                     08/16/2016

           Details:
                         The FBI is opening a full investigation based on
           -            able factual basis tha t reasonably indicates that
           CROSSFIRE RAZOR (CR) may wittingly or unwittingly be
            involved in activity on behalf of the Russian Federation
           which may constitute a federal crime or threat to the
           national securi t y. The FBI is predicating the investigation
           on predetermined criteria set forth by the CROSSFIRE
           HURRICANE investigative team based on an assessment of
           reliable lead information received during the course of the
           investigation. Specifically, CR has been c ited as an adviser
           to the Trump team on foreign policy issues February 2016; he
           has t i es t o v arious state-affiliated ent ities of the Russian


                                                                                      Declassified by FBI - C58W88B61
                                                                                      on 5/4/2020
                                                                                      This redacted version only




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                      Opening of the CROSSFIRE RAZOR investigation.
                      , 08/16/2016



   Federation, as reported by open source information; and he
   traveled to Russia in December 2015, as reported by open
   source information. Additionally, CR has an active TS/SCI
   clearance.

  ~ The goal of the investigation is to determine
  ~ e captioned subject, associated with the Trump
  Team, is being directed and controlled by and/or
  coordinating activities with t h e Russian Federation in a
  manner which may be a threat to the national securi t y and/or
  possibly a violation of the Foreign Agents Registration Act,
  18 U.S.C section 951 et seq, or other related statutes.

  ~ As the captioned subject is prominent in a
  ~           olitical campaign, the FBI has categorized this
  investigat ion as a sensitive investigative matter (SIM) and
  considered the factors set forth in DIOG 10.1.3. Based on
  the facts and circumstances provided to date, the FBI
  believes that opening this investigation on captioned
  subject is the least intrusive method to addressee the
  serious national security ri sk posed by the activities
  a l leged .




  ••




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                                                                     Exhibit B
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         EXHIBIT 3




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                   FBI COUNTERINTELLIGENCE    INVESTIGATIONS



                   Thursday, March 2, 2817



                   U.S. House of Representatives,

                   Permanent Select Committee on Intelligence,

                   Washington, D.C.




                  The committee met, pursuant to call, at 9:28 a.m., in Room

            HVC-384, the Capitol, the Honorable Devin Nunes [chairman of the
            committee] presiding.


                  Present: Representatives Nunes, Conaway, King, LoBiondo,
            Rooney, Ros-Lehtinen, Turner, Wenstrup, Stewart, Crawford, Gowdy,
            Stefanik, Hurd, Schiff, Himes, Sewell, Carson, Speier, Quigley,
            Swalwell, Castro, and Heck.

                  Also Present:     Representative Calvert.

                  Staff Present:     Nick Ciarlante, Chief Clerk; William

                                                                  Declassified by FBI - C58W88B61
                                                                  on 5/6/2020
                                                                 This redacted version only


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             Flanigan, Professional Staff Member; Scott Glabe, Deputy General
             Counsel; Lisa Major, Professional Staff Member; Damon Nelson,
             Staff Director; George Pappas, Senior Advisor; Shannon Stuart,
             Budget Director; Mark Stewart, General Counsel; Michael Bahar,
             Minority Staff Director; Wells Bennett, Minority Counsel; Timothy
             Bergreen, Minority Deputy Staff Director; Carly Blake, Minority
             Budget Director; Linda Cohen, Professional Staff Member -
             Minority; Thomas Eager, Associate Professional Staff Member -
             Minority; Robert Minehart, Minority Senior Advisor; Amanda
             Rogers-Thorpe, Professional Staff Member - Minority; Rheanne
             Wirkkala, Professional Staff Member - Minority; Kristin Jepson,
             Security Director; Jeff Dressler, National Security Advisor for
             the Speaker; and Wyndee Parker, Senior Policy Advisor for the
             Minority Leader.




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                    So when the President announced -- that is the completion of

             the   III calls.   When the President announced that the United

             States Government was going to expel Russian diplomats and take

             the actions to close and to impose sanctions on some of the

             intelligence leadership in Russia, we obviously were covering

             very, very closely to see what reaction we would get from the

             Russians; what are they going to do?        So our analysts were

             watching                                   allover   the country on the

             Russians.    And so we -- they saw this much more quickly than we

             normally would, and



                    And then the Intelligence Community, including the FBI, was

             surprised when the Russians did nothing in response to the

             expulsion.    One of the reasons we were                      was to see,

             how far will they go in retaliating to us, and then what will we

             do?
                    And so the last couple days of December and the first couple

             days of January, all the Intelligence Community was trying to

             figure out, so what is going on here?        Why is this -- why have the

             Russians reacted the way they did, which confused us?          And so we

             were all tasked to find out, do you have anything

             that might reflect on this?        That turned up these calls at the end

             of December, beginning of January.       And then I briefed it to the

             Director of National Intelligence, and Director Clapper asked me

             for copies                     J   which I shared with him.




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                    In the first week of January, .he briefed the President and

             the Vice President and then President Obama's senior team about

             what we had found and what we had seen to help them understand why

             the Russians were reacting the way they did.

                   We did not disseminate this     l1li   in any finished

             intelligence, although our people judged was appropriate, for

             reasons that   I   hope are obvious, to have Mr. Flynn's name

             unmasked.    We kept this very close hold, and it was shared just as

             I described.

                   I had not briefed the Department of Justice about this, and

             found myself at the Oval Office on the 5th of January to brief the

             President on the separate effort that you all are aware of by the

             Intelligence Community to report on what the Russians had done

             during the election.     And in the course of that conversation, the

             President mentioned this    II1II    And that was the first time the

             Acting Attorney General, Sally Yates, had heard about it.          So,

             immediately after th~t, I briefed her about what it was.          That was

             on the 6th of January.      So that is the first week of January.

                   Nothing, to my mind, happens until the 13th of January, when

             David Ignatius publishes a column that contains a reference to

             communications Michael Flynn had with the Russians.          That was on

             the 13th of January.
                   And then 2 days later -- I think it is Sunday the 15th of
             January -- the Vice President is on the Sunday morning shows and
             says that Flynn had communications with the Russians, but it was




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             about essentially nothing about sanctions, or nothing substantive.

             It was about expressing condolences and -- and I forget what else

             he said at that point.      So that is the 15th of January.

                   So that begins the last week of the Obama administration.

             And during that week, the then Acting Attorney General was urging

             me to tell the White House that the Vice President's statements

             are inaccurate and to give them a heads-up that the statements

             that he had made to the public were inconsistent with what we knew

                                            And I resisted that, for two reasons.

             The first and most important reason is I worried it would step on
             our investigative equities.      Our investigative team wanted to

             consider, so what else should we do with respect to Mr. Flynn?

                   And I should have said this at the beginning.         At that point,

             we had an open counterintelligence investigation on Mr. Flynn, and

             it had been open since the summertime, and we were very close to

             closing it.    In fact, I had -- I think I had authorized it to be

             closed at the end of January, beginning -- excuse me, end of

             December, beginning of January.       And we kept it open once we

             became aware of these communications.       And there were additional

             steps the investigators wanted to consider, and if we were to give

             a heads-up to anybody at the White House, it might step on our

             ability to take those steps.
                   And, second, even if that hadn't been the case, I don't think

             the FBI's job is to give prudential heads-ups.         And if the
             leadership of the Department of Justice wanted to do that, that




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             was certainly fine for them to do, but I didn't think it was

             something that I should do.

                   And then the DNI and the Director of Central Intelligence

             Agency, so Mr. Clapper and Mr. Brennan, both approached me on the

             19th, the last evening of the Obama administration, and asked me

             whether I was going to tell them about what I knew about Mr. Flynn

             before they took office, and I said that I was not, given our

             investigative equities, and the conversation ended there.

                   The administration takes office on the 28th, obviously.           On

             the 24th, I directed agents to go to the White House to interview

             Mr. Flynn and had the Deputy Director call Mr. Flynn and say:              We

             want to send over a couple agents to interview you.         Are you

             willing to talk to them?

                   And he said:    Sure.   Send them over.     I will talk to them

             right now.
                   And we sent two of our most experienced counterintelligence

             investigators over to the White House.        I did not tell the

             Department of Justice that I was taking that step until after I

             had taken the step.     And two experienced agents went over and met

             Mr. Flynn alone.
                   The Deputy Director said:      If you want to have somebody else

             there, that is fine.
                   He said:    I will meet with them alone.
                   And he met with the two agents and was interviewed in his

             office in the West Wing and said essentially what the Vice




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             President had said on television, which is:         I didn't talk to the

             Russians about their expulsion of diplomats.         I didn't talk to the

             Russians about their -- the sanctions.        I didn't talk about that

             at all.

                     And then the agents, obviously being experienced agents,

             start interviewing him, and not -- they didn't show him the

             transcripts, but they started using in their questions words that

             were taken directly from the transcripts:         Well, did you say this,

             and did you say that, and did you say this?

                     And he obviously began to pick up that they had something

             else that was underlying their questions, and he said:          Look, it

             is possible.    I am guessing you guys                        the

             Russians, but -- he said:      I don't remember talking about that.        I

             was in the Dominican Republic.       I didn't get his text because I

             had bad coverage there.      I called him back.    And I don't remember

             talking to him about this.      And I am sorry, but I didn't         he

             said:    My recollection is I did not talk to him about that.

                     And the agents -- and the reason I mention their experience

             is because I talked to them about this -- they discerned no

             physical indications of deception.       They didn't see any change in

             posture, in tone, in inflection, in eye contact.         They saw nothing

             that indicated to them that he knew he was lying to them.

                     And they interviewed him completely, went through it all, did

             not show him the transcript,     1IIIIIIII   or transcripts, and then
             came back and drafted a 302 and reported to me and the Deputy




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             Director.

                   And I then briefed the White House on the contents of what

             Mr. Flynn had said.     That is the 24th of January.

                   The 26th of January, the Acting Attorney General went over to

             the White House with a career senior official from the National

             Security Division and met with the White House Counsel and briefed

             him on what we had learned                                 and what we

             had learned from the Flynn interview.       And then they went back the

             next day and continued that conversation and offered to make

             available the transcripts                                 to the White

             House.
                   The White House assigned a lawyer named John Eisenberg, who

             works for the White House Counsel, and he came over to the FBI

             shortly thereafter and reviewed the transcripts of the Flynn         -I


                   And then, on the 10th of February, the FBI carried the

             transcripts -- two of our folks carried the transcripts over to
             the White House and reviewed them with White House Counsel and, I

             believe, the Vice President.      And on the 13th of February,

             Mr. Flynn resigned.
                   So that is the chronology                        , our review of

             it, and then our investigative steps.
                   NOw, there is still, obviously, an open investigation of
             Mr. Flynn that is criminal in nature.       So I am not going to go




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                   MR. ROONEY:     Okay.     Thank you.

                   I yield back.

                   THE CHAIRMAN:     Okay.    Mr. Carson is not here.   Ms. Speier.

                   MS. SPEIER:     Thank youJ Mr. Chairman.

                   Thank youJ Mr. Corney. Do you believe that Mr. Flynn lied?

                   MR. COMEY:    I don't know.      I think there is an argument to be

             made that he lied.     It is a close one.

                   MS. SPEIER:     So the fact that he actively was asking the

             RussiansJ through the AmbassadorJ to vote against the United

             States at the U.N. with regard to Israeli settlements} have you

             looked further into that issue?        Because that clearly involves a

             private citizen conducting foreign policy.

                   MR. COMEY:    We haven't besides obviously analyzing     IIIIIIII
                         and interviewing him.       That is one of the questions for

             the Department of JusticeJ is do you want further investigation.

             That would be the Logan Act angleJ not the false statements to

             Federal agents angle.
                   MS. SPEIER:     So you have not pursued that inquirYJ though?
                   MR. COMEY:    Not beyond what I have described here.

                   MS. SPEIER:     Are you going to?

                   MR. COMEY:    Not unless we get the Department of Justice

             directing us tOJ if they need some information to be able to

             evaluate Mr. Flynn.     Like I saidJ I doubt it honestly because of

             the nature of the Logan Act as such.         AgainJ I am not an expertJ
             but I don't think it is something prosecutors have used.         But it




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            is possible.    That is one of the reasons we sent it over to them,

            saying look, here is this old statute.       Do you want us to do

            further investigation?




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                   MR. TURNER:
                                 •••
                                 When your agents went to go speak to Mr. Flynn~




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            and questioned him about the conversation, you already knew the

            contents of the conversation.       You had the transcript and the

            agents had access to the transcript.

                  MR. COMEY:    Correct.

                  MR. TURNER:    So you couldn't have sent agents to Mr. Flynn

            for the purposes of questioning him about the content of the
             conversation because you already knew what the content was.

            Correct?

                  MR. COMEY:    Right.     Our purpose --

                  MR. TURNER:    Right.    You had a transcript, so there was no

            question.    So right.   Thank you.
                  So what was the purpose of the questioning?        If it wasn't to

            ascertain what happened in the phone conversation, of which the

             contents you knew, what was the purpose to ask him these questions

            about what happened in the conversation?

                  MR. COMEY:    To find out whether there was something we were

            missing about his relationship with the Russians and whether he

            would -- because we had this disconnect publicly between what the
            Vice President was saying and what we knew.        And so before we

             closed an investigation of Flynn, I wanted them to sit before him

            and say what is the deal?
                  MR. TURNER:    By publicly, you mean statements that were made

             in the press.
                  MR. COMEY:    Right.     That the Vice President made on TV.

                  MR. TURNER:    Right.     Okay.   But you have also made statements




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             business or government relationships, with Russia.       Is that

             correct?

                   MR. COMEY:    Well the context was there was an open

             counterintelligence investigation that had been open for months,

             trying to figure out is there some sort of covert relationship

             between Mr. Flynn and the Russian Government.      And then when Mr.

             Flynn has a communication                     with the Russian

             Ambassador, and that it appears       again, from what we can see

             from the outside -- that he for some reason hasn't been candid

             with the Vice President about this, my judgment was we could not

             close the investigation of Mr. Flynn without asking him what is

             the deal here.     That was the purpose.

                   MR. SWALWELL:    And do you agree with Ms. Yates's evaluation

             that that made him blackmailable?

                   MR. COMEY:    Possible.   That struck me as a bit of a reach,




                                  -
             though, honestly.




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manager.


                     On January 24 , 2017, Deputy Assistant Director (DAD) Peter
                     k II and                       , interviewed United States
           (U . S.) National Security Advisor Michael T. FLYNN, date of birth
         -
           (DOB}                     , at . his office at the White House . After
         being advised of the iden t i ties        the interviewing :agents and the  of
         nature of the interview, FLYNN provided the following information :

                    FLYNN ' s first invitation to Russia occurred when he was the
                  · of the Defense Intelligence Agency (DIA).     FLYNN was the
          first DIA Director to be invited to GRU headquarters. · During that
         -
          four day trip in 2013 , he partici pated -in a leadership development
         program at GRU (Russian Military Intelligence) headquarters . FLYNN
          received proper authorization within the U.S. Government prior to
          conducting the trip . .. FLYNN could not recal l if he met Russia ' s
         Ambassador . to .the United States, Sergey rvanovich KISLYAK, during
          this trip .                 FLYNN described the Ru.ssians a.5 very appreciative of hi:s
          visit . During this trip to Russia as DIA Director, FLYNN · first met
         .the then- GRU Director Igor SERGUN . Following the .trip , FLYNN and
          SERGUN conti.n ued their ;.relationship on at least one occas ion through ·
          video teleconference (VTC) arid were planning a vi.5it for SERGUN to
          travel tO ' the United States on February 28, 2014 . Russia invaded
          Crimea in .the weeks prior to SERGUN ' s planned trip, SERGUN ' s trip
          was cancelled, and FLYNN had no.further contact with -the GRU
          Director .· FLYNN desc.ribect .SERGUN as having common ground with FJ;,YNN
          in that · they had similar backgrou~ds, . their sons ,,,ere the same age,
          and they had a 6onnection in fighting terrorism . SERGUN had scars
          from Chechnya and they shared stories about Afghanistan . FLYNN
          stated he called Ambass.ac::ior KISLYAK following SERGUN I s death in




                         01/24/2017 ._1 Washington, District                                 Of    Columbia, United States (In Person)

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   l>y                                  STRZOK PETER P II                                                                                                                      I
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  co be di.cribt,f.,d outside your agcocy.                                                                                                                                     I
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                           Nichael Flynn                  ,On   01/24/2017   :Page   2 of 5

           Lebanon early last year to express his condolences. FLYNN described
           SERGUN as someone the U.S. could work with. FLYNN said he was not
           really part of the TRUMP campaign at the time of this call to
           KISLYAK.

           -         FLYNN stated his second trip to Russia, after he left U.S.
           government service, had received so much press attention that "it
             [was] unbelievable." As background, FLYNN explained that he was
           never paid directly by media entities, however, he had been a
            contributor to a variety of media entities including Al Jazeera,
           Russia Today (RT), Sky, and MSNBC. FLYNN received a request from
           his speakers bureau, Leading Authorities (LAI), to speak about
           Middle East issues at the RT 10th Anniversary reception in Moscow.
            FLYNN was paid for the speech by LAI. FLYNN did not know from whom
           LAI received payment. FLYNN met with KISLYAK at the Russian
           Ambassador's residence next to the University Club prior to this
           trip to Russia. The visit was a courtesy call to the Ambassador
           prior to his trip, and FLYNN took his son with him to this meeting.
           The meeting occurred.in the mid-afternoon. In addition, FLYNN
           received a DIA threat briefing prior to the travel.

           -         Prior to the Presidential inauguration, FLYNN spoke to
           ~ e representatives in each of approximately thirty countries'
            governments. FLYNN stated the only exception to that practice was
            Russia, in that FLYNN had substantive conversations only with
            KISLYAK, and no other members of the Government of Russia. FLYNN's
            interest in Russia was as a common partner in the war on terror.
            FLYNN does not know if PUTIN and TRUMP will get along, but it is
            FLYNN's job to figure out paths to work with Russia to fight
            terrorism. FLYNN named the primary threats to the U.S. as the "four
            plus one:" China, Russia, Iran, North Korea and ISIS. FLYNN stated
            if the U.S. could neutralize one of the four, or even better,
            leverage their cooperation fighting a common enemy such as
            terrorism, that would be a success for U.S. national security.

           -          Sometime prior to Christmas, 2016, the Russian Ambassador
           to Turkey was assassinated. FLYNN called KISYLAK the next day to
            say he .was sorry and to reinforce that terrorism was our common
           problem. FLYNN noted that it was a short call, and "that was it."
           On Christmas Day, a Russian military plane crashed and killed all on
           board to include what was the equivalent to the "Russian USO;" it
           was the same Russian choir that sang at the RT event. FLYNN called
           KISYLAK to pass his condolences, as his intent was to try to keep
           the relationship with KISLYAK going. FLYNN expanded that he has no
           particular affinity for Russia, but that KISLYAK was his




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           counterpart,· and maintaining trusted relationships within foreign
           governments is important.

          -         Shortly after Christmas, 2016, FLYNN took a vacation to the
          Dominican Republic with his wife. On December 28th, KISYLAK sent
          FLYNN a text stating, "Can you call me?" FLYNN noted cellular
          reception was poor and he was not checking his phone regularly, and
          consequently did not see the text until approximately 24 hours
          later. · Upon seeing the text, FLYNN responded that he would call in
          15-20 minutes, and he and KISLYAK subsequently spoke. .The Dominican
          Republic was one hour ahead of the time in Washington, D.C. During
          the call, KISYLAK asked FLYNN to set-up a VTC between
          President-elect TRUMP and Russian President PUTIN on January 21st.
          In addition, FLYNN and KISLYAK discussed the U.S. sending an
          observer to a terrorism conference in Astana, Kazakhstan, that would
          be attended by Russia, Turkey, Iran and Syrian opposition groups._
          FLYNN stated he did not respond back to KISYLAK about the conference
          until probably this week. FLYNN did not make the decision on who
          would represent the U.S. until the 20th or 21st of January, and
          finally determined an observer from the U.S. Embassy in Astana would
          attend. FLYNN noted Russia wanted to take the lead for peace in the
          Middle East, but the U.S. needed to be the leader, particularly to
          keep Turkey under the U, S. 's wing.. FLYNN added there was a complete
          Jack of engagement from the prior administration.
          -         The interviewing agents asked FLYNN if he had any other
          ~ m a i l , or personal meetings with KISLYAK or other Russians.
          FLYNN volunteered that after the election, he had a closed door
          meeting with KISYLAK and Jared KUSHNER at Trump Tower in New York
          City. KISLYAK was in New York to meet with his diplomats, and the
          three had a relatively sensitive meeting. FLYNN was a late addition
          to the meeting and did not participate in setting it up. FLYNN
          believed the meeting took place before Thanksgiving but was unsure
          of the date. FLYNN explained that other meetings between the TRUMP
          team and various foreign countries took place prior to the
          inauguration, and were sensitive inasmuch as many countries did not
          want the then-current administration to know about them. There were
          no personal relationships between the leaders of many countries and
          the prior administration. FLYNN stated that he and personnel from
          t_he incoming administration met with many countries "to set
          expectations for them, and the expectations were set very high."

          -        The interviewing agents asked FLYNN if he recalled. any
          discussions with KISLYAK about a United Nations (UN) vote
          surrounding the issue of Israeli settlements. FLYNN quickly




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           responded, "Yes, good reminder." On the 22nd of December, FLYNN.
           called a litany of countries to include Israel, the UK, Senegal,
           Egypt, maybe France and maybe Russia/KISLYAK. Part of the reason
           for FLYNN's calls was to conduct an exercise to see how fast the
           incoming administration could get someone on the line. FLYNN
           likened it to a battle drill to see who the administration could
           reach in a crisis. The exercise was conducted at the campaign's GSA
           transition building on 18th and I Streets N.W., which FLYNN
           described as a somewhat chaotic environment. FLYNN stated he
           conducted these calls to attempt to get a sense of where countries
           stood on the UN vote, specifically, whether they intended to vote or
           abstain.

           1111111   The interviewing agents asked FLYNN if he made any request
           of KISLYAK to vote in a particular way or take any action. FLYNN
           stated he did not. FLYNN stated he did not believe his calls to the
           various countries would change anything. FLYNN recalled there
           needed to be a certain number of abstention votes to alter the
           outcome, and that having looked at the math at the time, he knew it
           ·could not be achieved. FLYNN said 14 countries were voting, and had
           a recollection of the number of five votes being important. In the
           end, only the U.S. abstained. FLYNN stated his calls were about
           asking where countries would stand on·a vote, not any requests of,
            "hey if you do this."

           1111111   _The interviewing agents asked FLYNN if he made any conunent
          - to KISLYAK about voting in_- a certain manner, or slowing down the
            vote, or if KISLYAK described any Russian response to a request by
            FLYNN. FLYNN answered, "No." FLYNN stated the conversations were
            along the lines of where do you stand, and. what's your position.
            FLYNN heard through other channels that Egypt did not like the vote,
            and believed the Egyptians of their own accord delayed the vote a
            day. FLYNN again stated that he appreciated the interviewing agents
            reminding him that he had another conversation with KISLYAK.

           1111111  ~he interviewing agents a~ked FLYNN if ?e recalled.any
           conversation with KISLYAK surrounding the expulsion of Russian
           diplomats or closing of Russian properties in response to Russian
           hacking activities surrounding the election. FLYNN stated that he
           did not. FLYNN reiterated his conversation was about the
           PUTIN/TRUMP VTC and the "Astana thing" (the Kazakhstan conference
           described earlier). FLYNN noted he was not aware of the
           then-upcoming actions as he did not have access to television news
           in the Dominican Republic and his government BlackBerry was not
           working.




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                            Michael Flynn
                           ---------------- .On                01/24/2017   . Page   5 of 5

           -         The interviewing agents asked FLYNN if he recalled any
            conversation with KISLYAK ii:i which the expulsions were discus.sect,
           where FLYNN might have encouraged KISLYAK not to escalate the
            situation, to keep the Rus.sian response reciprocal, or not to engage
            in a "tit-for-tat." FLYNN responded, "Not really. I don't
            remember. It wasn't, 'Don't do anything.'" The U.S. Government.'s
            response was a total surprise to FLYNN. FLYNN did not know about.
           the Persona Non-Grata (PNG} action until it was in the media.
           KISLYAK and FLYNN were starting off on a good footing and FLYNN was
            looking forward to the relationship. With regard to the scope of
           the Ru.ssians who were expelled, FLYNN said he did not understand
           it. FLYNN stated he could understand one PNG, but not thirty-five.

           -         The interviewing agent.s asked FLYNN if he recalled any
            conversation with KISLYAK in which KISLYAK told him the Government
           of Ru.ssia had taken into account the incoming administration's
           position about the expul.sions, or where KISLYAK .said the Government
           of Ru.ssia had responded, or chosen to modulate their response, in
           any way to the U.S.'s actions as a result of a request by the
           incoming administration. FLYNN .stated it was possible that he
           talked to KISLYAK on the issue, but if he did, he did not remember
           doing so. FLYNN stated he was attempting to start a good
           relationship with KISLYAK and move forward. FLYNN remembered making
            four to five calls that day about this issue, but that the Dominican
           Republic was a difficult place to make a call as he kept having
           connectivity issues. FLYNN reflected and stated he did not think he
           would have had a conversation with KISLYAK about the matter, as he
           did not know the expulsions were coming. FLYNN stated he did not
           have a long drawn out discussion with KISLYAK where he wouid have
           asked him to "don't do something."




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         EXHIBIT 7




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      ...                 .....                                               ,,_......_
     4-Jan-17   2:11 PM    Strzok              Hey if you havent closed     don't do it yet
     4-Jan-17   2:12 PM    Strzok              Sorry, RAZOR
     4-Jan-17   2:14 PM                        Hey if you havent closed RAZOR, don't do so yet
     4-Jan-17   2:15 PM                        Okay
     4-Jan-17   2:15 PM
     4-Jan-17   2:15 PM
     4-Jan-17   2:15 PM

                                               Still open and I'm still listed as the Case Manager (had to double check)
     4-Jan-17   2:17 PM
     4-Jan-17   2:18 PM                           r. I couldn't raise   earlier. Pis keep it open for now
     4-Jan-17   2:17 PM
                                               Razor still open. :@> but serendipitously good, I guess. You want those
     4-Jan-17   2:19 PM    Strzok     Page
     4-Jan-17   2:19 PM    Page       Strzok    hew.
     4-Jan-17   2:20 PM    Page       Strzok   But yeah, that's amazing that he is still open. Good, I guess.
                                               Yeah, our utter incompetence actually helps us. 20% of the time, I'm
     4-Jan-17   2:20 PM    Strzok     Page     guessing:)
     4-Jan-17   2:21 PM               Strzok

                                               Just need to relay to him not to close RAZOR yet. I talked with
     4-Jan-17   2:21 PM
     4-Jan-17   2:22 PM                        Oh,OK
     4-Jan-17   2:22 PM               Strzok   What's up?
                                               Need to decide what to do with him w/r/t the
     4-Jan-17   2:22 PM    Strzok
     4-Jan-17   2:22 PM    Strzok

                                                                                           Did DD send that material over?
     4-Jan-17   2:23 PM               Strzok
                                                             has been handling RAZOR's closure - do you want me to reach
     4-Jan-17   2:23 PM               Strzok   out to him?


SUBJECT TO PROTECTIVE ORDER
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     4-Jan-17    2:24 PM                        Yes
     4-Jan-17    2:24 PM                        Will do
     4-Jan-17    2:24 PM                        Hey don't close RAZOR
     4-Jan-17    2:24 PM                        actually, just got him on Lyne
     4-Jan-17    2:24 PM                        Has he been doing the bulk of the work on him?>
     4-Jan-17    2:25 PM                        He's been doin some of the stuff more recently

                                                Actually, his green bubble just turned yellow, pis do try and reach him
     4-Jan-17    2:25 PM
     4-Jan-17    2:25 PM                        Will do
     4-Jan-17    2:27 PM                        ok
     4-Jan-17    2:28 PM                        should I be concerned?
     4-Jan-17    2:28 PM                        Possibly. Will know more in a bit
     4-Jan-17    2:29 PM                        1'11 lync you in 10-15
     4-Jan-17    2:29 PM                        ok

     4-Jan-17    3:59 PM
     4-Jan-17    3:59 PM

     4-Jan-17    3:59 PM
     4-Jan-17    3:59 PM
     4-Jan-17    3:59 PM
     4-Jan-17    4:00 PM
     4-Jan-17    4:08 PM



                                                We'll see, about Bill. He was pretty adamant about what Andy it said with
                                                regard to that. And he mentioned on Saturday that he had several
     23-Jan-17   6:37 AM    Strzok      Page    conversations
                                                with Andy. Bill sense with it and he wanted to know why we had to go
                                                aggressively doing these things, openly. I worry Bill isn 't getting the
     23-Jan-17   6:37 AM    Strzok      Page    underlying d
     23-Jan-17   6:37 AM    Strzok      Page    istinction that I think is clear. But maybe I'm wrong.



SUBJECT TO PROTECTIVE ORDER
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                                                 Hi - sorry I missed you yesterday. About to email you questions for Andy to
                                                 think about in advance of his call with Flynn. I'm sure he's thought of
                                                 them already, but just in case
     24-Jan-17   6:46AM      Strzok


     24-Jan-17   9:27 AM     Strzok      Page    @@@@ Bill just told          and me that he brought up - again, th
     24-Jan-17   9:27 AM     Strzok      Page    is time in front of D             . Didn 't know he was going to d
     24-Jan-17   9:27 AM     Strzok      Page    o that.
     24-Jan-17   9:29 AM      Page      Strzok   Yeah, dd is frustrated. Going into mtg.
     24-Jan-17   9:29 AM      Page      Strzok   Don 't repeat
                                                 I won 't. Bill said D started going one way and DD cut him off. I'd be
     24-Jan-17   9:30AM      Strzok      Page    frustrated too

                                                 This document pisses me off.? You didn't even attempt to make this
     10-Feb-17   5:37 PM     Page       Strzok   cogent and readable.? This is lazv work on your part.
                                                 Lisa, you didnt see it before my edits that went into what I sent you. I was
                                                 1) trying to completely re-write the thing so as to save-oice and 2)
                                                 get it out to you for general review and comment in anticipation of
                                                 needing it soon. I greatly appreciate your time in reviewing and your
     10-Feb-17   10:10 PM    Strzok     Page     edits. I incorporated them. Thank you.
     10-Feb-17   10:11 PM    Strzok     Page     shoudl say 1) trying to not completely re-write....
     10-Feb-17   10:11 PM    Strzok     Page     should
     10-Feb-17   10:11 PM    Strzok     Page     f*ck.
     10-Feb-17   10:11 PM    Strzok     Page     I did the edits better than I'm IMing




SUBJECT TO PROTECTIVE ORDER
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   code section at question

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                     Strzok <€-,  Pets P.         <Paer.strzok@J
                     Wed, O4 Jan 2017 09:59:01 {1500


  You ara aweso.me. Thank you.

  ---Orioinal Messao+--
  From:strzok, Petgf P. (CD) (FBl)

  i"'iF,Yfiffi l8?i8irSfl -l-'sBLTfu,
  Subjec't:

  18 USC 953
  Any citizen of the United Ststes, wlrerevsr he may be, who, without authority of the United States, directly or indirectly
  ootrmenceo or canis on any cofi€sportdsncs or intercours€ with any foreign government or any officer or agpnt ther6of,
  with intent to influanoe the mbazures or condud of any bae[n govemnrent or of any offcer or agent thereof,ln rubtbn to
  anv disoubs or @nhoverskF wfth the United States, or to defeat the rneasures of the United Statgs, shall be fined undor
  thii tdd or impdsoned not npre than tlree yeans, or both.
  This section shall not abrldge ihe rfiht of a citizsn to apply., himsetf or his agent, to any fordgn-govemment or the agents
  thereof for redress of any iniury whicfi he may have sustained firom such gwemrnent or any of its agents or subjecG.
  (June 25, 1948, ch.645,62 Stat 7{,0; Pub. L. 1Oy322,      tile )O0(lll, S330016(1XK), Sept. 13, 1994, 108 Stat. 2147.')
  And because I am awesome, an excdlent CRS piece on the l-ogan Acl from 2015. All the legislaUve history they cite
  does not invofue irrcoming adminishatiors. Of note, The disanss{on of whather the ac,t is cumenty vhble rnby hihge on
  the fact that despim ils having b€€ri la^, fur mom han 200 yoaE, no ore has been proseanted 6r vidating it. lts ,iability
  may also invofva oonsliMional issu€s, suc$ as freedom of speech ancl r[ht to tavel, mentioned abore, since these
  on:stiUtional issues appoar not to ha\ra been litigabd with respea to the Logen Act.-




SUBJECT TO PROTECT:VE ORDER                                                                        DOJSCO‐ 700023478

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  Here's the text of the Logan Aci:


  18 U.S. Cod€ S 953 - Private conespondence with foreign govemments
  Any citizen of ffre United States, wheirevar he may be, utho, without auttlorlty of the United StEttos, direaty or indirec{ly
  oommgncas or canies on arry conespmdenca or intorcourse with any ioreign gpvemment or any oficar or agent thereof,
  wi$r intentb inffuence the mbaeuresor conduct dany foreign govertnnntbr of any ofiicer or agent thereof,ln rglation to
  any disputes or conboversi* with the Unitsd Stat€s, or to defeat the measures of fre United States, shall be lined under
  thiS ti0d or lmprisoned nol rpre than tlvee y@rs, or both.
  This seetion Chall not abrilge the right of a citizen to apply, himself or his agent, to any foreign govemment or the agents
  thereof fur rcdreas of any iniurv whicft hc mqr haw sustained ftorn such govenunent or any of its aq€nts or subiocE.
  (June 25, 1948, cfi.645,-6rs6t 74/.;Pub.L.1Oy3Z2, tid€ )O0(lll, S33d0r6(rXK), Sept. 13, 1994;108 Stat. 2147.)




SUBJECT TO PROTECT:VE ORDER                                                                        DOJSCO‐ 700023479

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         EXHIBIT 9




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  From:    "\"strzok\" < >,\"peter p. \"\" < ppstrzo
  To:      PRIESTAP <-@->, E.W. <jcboone                          OFFA <-@->, JONATHAN C. <mfvara
           MOYER<-@->, SALLY ANNE <jtrh                           >, AUTEN<-@->, BRIAN J. <jpientka
  Cc:      CORSI <-@->, DINA M. <dmcorsi
  Date:    Sat, 21 Jan 2017 19:13:31 -0500




                          : rov1 e a defensive briefing to him about CROSS WIND and
   Beyond that, I am not certain. I think my preference would be to provide him a defensive briefing about               put him
  on notice, and see what he does with that. If that's not possible, then c o n t i n u - e need to discuss what
  happens if DOJ directs us, or directly tells, VPOTUS or anyone else about th                     specifically w/r/t what we do
  direcUy with him. I think it will be very difficult not to do some sort of overt step w1 1m, a efensive briefing or interview
  under light "de     ·     ·       "                            ·      ·




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SUBJECT TO PROTECTIVE ORDER
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                                                                            Page 3 of 7#:1300

RE: --

From:      ''\"moyer\" < >,\"sally anne \"\" < sam                >"
To:        STRZOK <-@->, PETER P. <jcmoffa                     , ~GE <-@->, LISA C. <lcpage
Date:      Sun, 22 Jan 2017 09:23:06 -0500




    ....                                     ---------
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~          ~




RAZOR: Based on his position, would we usually tell him about Wind a n d . . . . . I'd be interested in letting that
play out a bit before he tells them and the whole thing goes underground. ~ a l l y tell the WH , then I think we
should do what we would normally do. At the very least, I think we need to debrief or interview Razor (unless told not to).
 I thinklllllllllllltvill get to him regardless so we should try to frame them in a way we want.

Good with the plan for CROSS WIND and




--Original Message--
From: STRZOK, PETER P. (CD) (FBI)
                   21 , 2017
Sent: Saturday,- a n     u 7:30
                              aPM
To: MOFFA, JO                     · MOYER, SALLY ANNE (OGC) (FBI); PAGE, LISA C. (OGC) (FBI)
Subject: FW: --




                                            ----------
------------------------------------------------------
To the Magnificent Three, I of course hope you comment/support/disparage all of this as you see fit.




                                                                                                              ICHAEL F.
                                                                                                               ; RHULE,
                                                                                                               ; PIENTKA,




                                                                                                 Exhibit B
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  CROSSFIRE RAZOR: Provide a defensive briefing to him about CROSS WIND and
   Beyond that, I am not certain. I think my preference would be to provide him a defensive ne mg a ou              pu 1m
  on notice, and see what he does with that. If that's not possible, then continue to monitor. We need to discuss what


       . ...
  happens if DOJ directs us, or directly tells, VPOTUS or anyone else about t h e - - specifically w/r/t what we do
  directly with him. I think it will be very difficult not to do some sort of overt step~ensive briefing or interview
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                                                                               Page 5 of 7#:1302

 Potential Qs for DD's call

  From:     "\"strzok\" < >,\" ter . \"\"                           •
 To:                    -@-
 Cc:        BAKER<-@->, JAMES A.
 Date:      Tue, 24 Jan 2017 06:46:58




 I'm sure he's thought through these, but for DO's consideration about how to answer In advance of his call with Flynn:
 Am I in trouble?

 Am I the subject of an investigation?

 Is it a criminal investigation?
 Is it an espionage Investigation?

 Do I need an attorney?

 Do I need to tell Priebus? The President'?
 Will you tell Priebus? The President?
 Will you tell the WH what I tell you?

 What happens to the infonnation/who will you tell what I tell you?
 Will you need to interview other people?

 Will our interview be released publicaHy? Will the substance of our interview be released?
 How long will this take (depends on his cooperation - I'd plan 45 minutes)?
 Can we do this over the phone?

 I can explain all this right now, I did this, this, this [do you shut him down? Hear him out? Conduct the interview if he starts
 talking? Do you want another agent/witness standing by In case he starts doing this?)
 Thanks,
 Pete




SUBJECT TO PROTECTIVE ORDER
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                                                                              Page 6 of 7#:1303
 RE: Question regarding 1001

 From:                                                                       •
 To:               Page<-@->, Lisa C. <peter.s o
 Date:             Mon, 23 Jan 2017 22:04:41 -0500


 I haven't read the policy lately, but if I recall correctfy, you can say it at any time. I'm 90 percent sure about that, but I can
 check in the am.




                                                                 , •5trzok, Peter P. {CD) (FBlt

 -      · I have a question for you. Could the admonition re 1001 be given at the beginning at the interview? Or does it have
 ffl"fflme following a statement which agents believe to be false? Does the policy speak to that? (I feel bad that I don't
 know this but I don't remember ever having to do this! Plus I've only charged it once In the context of lylng to a federal
 probation officer).

 It seems to be if the fonner, then it would be an easy way to Just casually slip that in. "Of course as you know sir, federal
 law makes it a crime to... •




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                                                                               Page 7 of 7#:1304
 Question regarding 1001

 From:                 "\"page\•< >,\"lisa c. \"\"                     •
 To:               -                                 peer.so
 Date:                 Mon, 23 Jan 2017 21 :30:41 -0500


 -    · I have a question for you . Could the admonition re 1001 be given at the beginning at the interview? Or does it have
 ffl'fflme following a statement which agents believe to be false? Does the policy speak to that? (I feel bad that I don't
 know this but I don't remember ever having to do this! Plus I've only charged it once in the context of lying to a federal
 probation officer).

 It seems to be if the former, then it would be an easy way to just casually slip that in. "Of course as you know sir, federal
 law makes it a crime to... "




SUBJECT TO PROTECTIVE ORDER
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      EXHIBIT 10




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      EXHIBIT 11




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January 24, 2017



W.hat follows are notes I typed shortly after my conversation with LTG Michael Flynn. While I have
quoted directly in a few places, this represents the substance of our conversation.



On Tuesday, 01/24/2017, as 1235, LTG Michael Flynn called via secure phone from -                   to my
office number -            .
                                                      , I told LTG Flynn that I had a sensitive matter to
discuss. I explained that in light of the significant media coverage and public discussion about his recent
contacts with Russian representatives, that Director Corney and I felt that we needed to have two of our
agents sit down with the General and hear from him the details of those conversations. LTG Flynn asked
if I was referring to his contacts with the Russian Ambassador to the United States, and I indicated that I
was.



LTG Flynn then explained that he had been trying to "build relationships" with the Russians, and that he
had calls in which he "exchanged condolences." He then stated that I probably knew what was said in
these calls because, "you listen to everything they say." I reiterat ed that in light of everything that has
been said about these contacts, the important thing now was for us to hear directly from him what he
said and how he felt about the conversations.



LrG Flynn questioned how so much information had been made pubtic and asked if we thought it had
been leaked.




I explained to LTG Flynn that my desire was to have two of my agents interview him as quickly, quietly
and discretely as possible. He agreed and offered to meet with the agents today. We had some
discussion about timing and ultimately agreed to conduct the interview at his office in the White House
at 1430 this afternoon. I explained that I thought the quickest way to get this done was to have a
conversation between him and the agents only. I further stated that if LTG Flynn wished to include
anyone else in the meeting, like the White House Counsel for instance, that I would need to involve the
Department of Justice. He stated that this would not be necessary and agreed to meet with the agents
w ithout any additional participants.




                                                                                    Declassified by FBI-C58W88B61
                                                                                    on 5/6/2020
                                                                                    This redacted version only



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      EXHIBIT 12




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FD-302 (R<!v. 5-S-10)




                                                          FEDERAL BUREAU OF INVEST!GATlON

                                                                                                                                                 Date of t-r.tty


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           (ll//FOIJO)       FBI Deputy Ast1i:;;tant Direct.(1r (DAD) Peter r. St:rzok was
          intexvic-wed in his tJff:j_cE~ :i.n th0 Sf,€cial counsel I z OfficE- . :Ln Washington D.
          C.     l?articipatin9 in the l.nt.e-rview were Senior Assistant Special Cc,1.msel
                                     and FBI SupervL:::c1ry .Special Ag1;:nt                     1'he
          purp,:;:::;e of the interview was to collect certa.in informati<.,n reqart.linq
          St:rz,:::k 1 ~; involv0ment in varic,u.s ,'.'l.spects of what has bec,:,me the Special
          Coun.$el' s investigat:i..on.    Strzok provided the fo11owln9 infor·tnatiO!':l:

          -                       AB FBI Count:erint.elliqence DAD, Strzok had involvement in
          seve:raJ. FBI investigations which were subsequently taken over by th\?
           Spe-cial Counsel. Spec.ific.ally, ltBI in.\-'esti9a.tions xegardin9 then-·National
           Security Advise-r, General Michael Flynni
                       At varlous time.s, Strz.ok and the -
                      Deputy Attorn>:'y General/Actihg A.ttorney General Sally Yate.:, and
          -()th.er D01J repre:::ientat.ives on the entire zpan of the FBI's RussJ.an electi()n
           inte1:ference / collusion invl:'stigations.




                                                                                                                                                    up to Acttnq N.SD
          A::,sistant Attorney General Mary McCord.
                                                          '




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                                                                                                 .On
                                                                                                                                        .:,f 5




                (IJ//FOUO)       On January '.:":4,      '..:017,   11.;.·<::a.t..0 t:d.d ::;r.r:.:<'-t   t:<·   :un2t'\"l."-~v1
               Flynn.       M,:;i";ctbe ca.llE d FJ.ynn at J.:·:::-:(1 p.m. a.rd Flynn aqr?~,:1 t(, b'2
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               int.e,rvif.'W('<l that -:iay at : : JO J:;. m,        McC-1l:.    may ha·.1;:, d,>cumc·nr,::-:J th,:'
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               but ;:\he ,.:,.;1}lt'.J him fir.St fc11: anctl"h7!: ~:e-8:~:;.,; l>:>f<11c· hr ha.J a ,:·1·.an,::0 t~;




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FD-30211 (~\.. 0:'!-0S-10)




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             call. When he t.o.ld her the FBI was inter.view:tng Flynn shE- wa;:l n,:,,t
             happy.

             (U/ /FOl10)         St):Zok and FBI SSA                   his interview partner, got
             ac:1::e::s::: tc, the White HousE: w.ith the as:::tJ~;tance of an FBI Whi.t.t? Hou.~:e
             detail<?e,        Flynn met t.hem at abc11.1t '."2:15, which was earliei: than
             aqr0e-d.        Flynn was alone and nrela:-:ed anJ jocular."              He W,:.l.nti::d to 9:i.ve
             them a little tour of the- 4.r1;:a a;r,:,und his Dffice.      D1..1rin9 their waik
             tluou9h the Wet::::t W.ing, l?re:':iide-nt Trump and some rnove-rs who were -:..ii.:3cuss.i.ng
             where to place sonv:· art work walked between Strzok and                      but nobody
             paid attentia:,n to th€: a9ent$.             Flynn did not introduce them to anyone.

              {U/ /FOOO}        Before the intervi.ew, McCabe, FBI General Counsel ,James Baker
             and others decided the agents would not warn Flynn that it. wa::: a crime to
             lie during an FBI interview because they wanted Flynn to be relaxed, and
             they were concerned that giving the warnings miqht adversely affect the
             rapport.

              (U//FOUO)         F.lynn was unquarded and clearly saw the FBI agents a.s
             a.llie.s. Ht? tall:ed ab,)ut various subjects, includinq hotel:;; wh;z,r,:; they
             stayed dtu.:ing the campai9n and the Pt·e3ident '.s knack for i.nt0ric,r
             de:dgn.   He taH:i;,d about the long hour.-::; of the job and c.omplatned about
             th€' politice surrounding it, but Flynn alway:":: c-::E~emed to woi:k his way to
             the subject of ter1'01·h:m. Flynn war::: so talkative, and had so rnuch time
             for them, that Strzok w,::indered if the Natic,nal Security AdviBer cUd not
             have m()re important. things to do tflan have.- such a relaxed; n.on-pert.in€~nt
             discus.sJ.on with thE-m.




                                                   interv.i.ew and.                       was pri.rnarily
             rc~s:p.::,nsible for taking notez and writing the FD--3D2.

              (l1//FOOO)        Throughout the interview, Flynn had a very                11
                                                                                               ~rnr-e" demeanor and
             did not ·give any indicatc,rs c•f d:ecE>pt.ion.     Hw <lid not pctL':Hl: bi;:; wc,1:,js vr
             he.zitat.1:, .i.n any of his answe-r:1. · He only hedged once, which they




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ContumiltionoffD.J02()f (U/ /ltOlJO)   I>AP P1:.,ter P. Strz,:it int~1:view   ,On   C,7/19/2017   ,J>.\p-c    4 cf 5


            docum'C'nted in th0 30'.:'.. Strz.ok and     bc,th had the J,mp.1:e~;si,.:,n at the
            ti.@} that Flynn wa~; not lying vr did not T,hink he was lying.     Flynn struct
            Strzo}: as 11 bd.ght, but not profoundly sophisticated, 11

             (U/ /FOUO)       rhe ag<C'nts lE·ft Flynn .in a collegial, positive way.
                              1
                                                                                                       'I'here wa:::


            (U//FOfJO)      St.rzok and        retnrned to FBI Headquarter.~, and briefed
            McCabe and Baker on the- interview. McCabe briefed Camey. Strzo}: wat~:
            awaro2 that Baker and Principal Associate Deputy Atto1-ney General Hatt
            Axel:r,:.,j later argued about the FBI' s deci.sic.,n to interview Flynn.

            (U/ /FOUO)      Shortly afte.r th€' interview, YateB and McCord briefed White
            Huu.-:.:0 staff on the Flynn calls.




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